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                                                      6    CASCADE ENTERTAINMENT GROUP, LLC,
                                                           a California limited liability company
                                                      7
                                                           [Additional counsel are listed on the signature page.]
                                                      8
                                                                                          UNITED STATES DISTRICT COURT
                                                      9
                                                                                         EASTERN DISTRICT OF CALIFORNIA
                                                      10

                                                      11   CASCADE ENTERTAINMENT GROUP,                           Case No. 2:05-CV-01382-MCE JFM
                       San Francisco, CA 94111-5894




                                                           LLC, a California limited liability company,
Winston & Strawn LLP




                                                      12
                            101 California Street




                                                                           Plaintiff,
                                                      13
                                                                    vs.                                           ORDER RE SETTLEMENT
                                                      14
                                                           BUENA VISTA RANCHERIA OF THE
                                                      15   ME-WUK INDIANS, a sovereign Indian tribe;                    Related Documents
                                                           the BUENA VISTA ECONOMIC                                     Stipulation
                                                      16   DEVELOPMENT AUTHORITY, a body
                                                           corporate and politic and instrumentality of the
                                                      17   Buena Vista Rancheria of Me-Wuk Indians; the
                                                           TRIBAL COUNCIL OF THE BUENA VISTA
                                                      18   RANCHERIA OF THE ME-WUK INDIANS,
                                                           the governing body of the Buena Vista
                                                      19   Rancheria of the Me-Wuk Indians; and DOES
                                                           1 through 200, inclusive,
                                                      20
                                                                           Defendants.
                                                      21

                                                      22            Plaintiff Cascade Entertainment Group, LLC and defendants Buena Vista Rancheria of the

                                                      23   Me-Wuk Indians, the Buena Vista Economic Development Authority, the Tribal Council of the

                                                      24   Buena Vista Rancheria of the Me-Wuk Indians, and third parties Thomas J. Wilmot, Sr., Buena

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                                                      1    Vista Development Company, LLC, Rhonda Pope and Donnamarie Potts, having so stipulated, and

                                                      2    capitalized terms not defined herein being defined in the their stipulation, and good cause appearing

                                                      3    therefor,

                                                      4                   IT IS HEREBY ORDERED THAT

                                                      5                   1.     The Settlement is and shall be enforceable by, and enforceable against, the

                                                      6    Parties.

                                                      7                   2.     The Court will retain jurisdiction over all of the parties to enforce all of the

                                                      8    terms of the Settlement.

                                                      9                   3.     The Settlement is fair and reasonable and is hereby approved.

                                                      10
                                                           Dated: November 9, 2005
                                                      11
                       San Francisco, CA 94111-5894
Winston & Strawn LLP




                                                      12                                            __________________________________
                            101 California Street




                                                                                                    MORRISON C. ENGLAND, JR
                                                      13                                            UNITED STATES DISTRICT JUDGE

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